









Petition for Writ of Mandamus Dismissed in Part and Denied in Part and
Memorandum Opinion filed December 18, 2003









Petition for Writ of Mandamus Dismissed
in Part and Denied in Part and Memorandum Opinion filed December 18, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01341-CV

____________

&nbsp;

IN RE LEE NICHOLS MCNAB MILLER, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On December 1, 2003, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex. R. App. P. 52.&nbsp; Relator&nbsp; seeks relief from
the actions of two known and two unknown judges who presided in the 179th
District Court, the current and former Harris County District Attorney, an
unknown court reporter and agency, the State of Texas and its agents, and all
law enforcement agencies.








This court is empowered to issue writs of mandamus against
judges of district courts, but may not issue writs against other parties unless
necessary to enforce our jurisdiction.&nbsp; Tex. Gov=t Code Ann. ' 22.221(a)-(b) (Vernon Supp.
2003).&nbsp; Because relator
does not allege that the current and former District Attorney, the unknown
court reporter or agency, the State of Texas and it agents, or the unspecified
law enforcement agencies are interfering with this court=s jurisdiction, we must dismiss the
proceeding, as it relates to these parties, for lack of jurisdiction.&nbsp;&nbsp; 

As to the judges of the 179th District Court, relator claims he has sought and been denied copies of his
trial records.&nbsp; Relator
has not met his burden of presenting a sufficient record to establish his
entitlement to mandamus relief.&nbsp; See
Walker v. Packer, 827 S.W.2d 833, 837 (Tex.
1992).&nbsp; Accordingly, as the petition
concerns judges of the 179th District Court, we deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition
Dismissed in Part and Denied in Part and Memorandum Opinion filed December 18,
2003.

Panel consists of
Justices Yates, Hudson, and Fowler.





